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                         EXHIBIT B
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                     UNITED STATES DISTRICT COURT
             MIDDLE DISTRICT OF FLORIDA – ORLANDO DIVISION


   Liberty Mutual Insurance Company and
   Great American Insurance Company,
                                                   Civil Action No.: 6:24-cv-2180
                 Plaintiffs,

                       -against-
                                                   Declaration of Jean-Claude
   Orlando Museum of Art, Inc., and Pierce         Mazzola in Support of Motion to
   O’Donnell, Taryn Burns, and William             Remand
   Force, and Basquiat Venice Collection
   Group, an unregistered de facto partnership.

                Defendants.


        I, Jean Claude Mazzola, under penalty of perjury, state that the information

  contained in the foregoing document is true.

        1.      Plaintiffs brought this declaratory judgment action based on the filing

  of a claim for coverage under Orlando Museum of Arts’ insurance policy with

  Liberty Mutual by defendants Pierce O’Donnell, William Force, Taryn Burns,

  acting collectively as the BVCG, claiming a total loss of the paintings seized by the

  FBI from the Orlando Museum of Art during the exhibition “Heroes and Monsters:

  Jean-Michel Basquiat, the Thaddeus Mumford, Jr. Venice Collection,” which was

  slated to be held at OMA between February 12, 2022 and June 30, 2023. (ECF 1).

        2.      Plaintiffs Great American Insurance Company and Liberty Mutual

  both insure OMA under the policy.

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        3.     Plaintiffs sent the BVCG defendants a courtesy copy of the complaint

  on November 18, 2024 and requested that counsel accept service of process on

  behalf of their clients, however, counsel failed to reply.

        4.     The BVCG defendants filed a notice of removal on Wednesday

  November 27, 2024, and thereafter waived service of process in the same email

  that notified counsel of the removal.

        5.     On Monday December 2, 2024, OMA waived service of process by

  email to plaintiffs’ counsel.

        6.     We have spoken with OMA’s counsel, who advised that they object to

  the removal, did not consent to removal, and will join in this motion, in separate

  papers.

  Dated: December 27, 2024
         New York, New York                         Respectfully submitted,
                                                    MAZZOLA LINDSTROM, LLP
                                                    By: _____________________
                                                    Jean-Claude Mazzola (FL 73466)
                                                    Counsel for plaintiff
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